Case 4:21-cv-00124-ALM Document 61 Filed 10/06/21 Page 1 of 3 PageID #: 377




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION

  CHRISTIAN GARCIA-ALVAREZ, on
  behalf of himself and those similarly
  situated,
                                                    CIVIL ACTION FILE NO:
        Plaintiffs,
  v.                                                     4:21-cv-124-ALM

  FOGO DE CHAO CHURRASCARIA
  (PITTSBURGH) LLC, et al.,

       Defendants.

       NOTICE OF WITHDRAWAL OF OPT-IN PARTY PLAINTIFFS


       COMES NOW Plaintiff, by and through undersigned counsel, and hereby

submits this notice of withdrawal of opt-in party plaintiffs to the above styled action.

                                            1.

       Ereida Escobar filed her Consent to Join on October 7, 2020 (Doc. 7) in the

above-captioned action for all purposes pursuant to 29 U.S.C. § 216(b) and the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

                                            2.

       Jonathan Pirelli filed his Consent to Join on October 7, 2020 (Doc. 8) in the

above-captioned action for all purposes pursuant to 29 U.S.C. § 216(b) and the Fair
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Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

                                          3.

      Carlos Castaneda filed his Consent to Join on April 22, 2021 (Doc. 35) in the

above-captioned action for all purposes pursuant to 29 U.S.C. § 216(b) and the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

      Plaintiff withdraws the Consent to Join forms for each of the three (3) above-

referenced Opt-in Plaintiffs without prejudice.

      Respectfully submitted this the 6th day of October 2021.

                                           /s/ Carlos V. Leach
                                           Carlos V. Leach, Esq.
                                           FL Bar No. 0540021
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Counsel for Plaintiff




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                                                   CIVIL ACTION FILE NO:
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  FOGO DE CHAO CHURRASCARIA
  (PITTSBURGH) LLC, et al.,

       Defendants.

                           CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this the 6h day of October 2021, a true and

correct copy of the foregoing has been electronically filed with the Clerk of Court

using the CM/ECF system, which will automatically send email notification of such

filing to all attorneys of record.

       I also certify that the foregoing has been prepared in a Times New Roman

14-point font, one of the font and point selections approved by the Court in Local

CV-10(a)(5).

                                        /s/ Carlos V. Leach
                                       Carlos V. Leach, Esq.
                                       FL Bar No. 0540021
                                       cleach@theleachfirm.com



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